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        Litigation and Settlement of False Claims Act Actions Involving FHA Funds

Rank   Total Value     Bank                  Pursued by  Government Settlement
       of Claims                             Government? moved to   amount
                                                         dismiss?
1      2,389,260,108   Wells Fargo           Yes         No          $1.2 billion
2      1,505,269,995   Bank of America       Yes         No          $800 million
3      669,526,484     Quicken Loans         Yes         No          In litigation
4      482,428,609     Flagstar Bank         Yes         No          $132.8 million
5      420,397,343     Freedom Mortgage      Yes         No          $113 million
6      327,567,844     U.S. Bank             Yes         No          $200 million
7      308,508,768     Fifth Third           Yes         No          $85 million
8      272,381,903     Franklin American     Yes         No          $70 million
9      231,284,475     Primelending          Yes         No          N/A
10     222,271,318     Guild Mortgage        Yes         No          In litigation
11     217,152,175     JP Morgan Chase       Yes         No          $614 million
12     206,413,581     Primary Residential   Yes         No          $5 million
                       Mortgage Inc.
13     164,683,004     Prospect Mortgage     Yes         No          $4.157 million
14     157,073,010     Academy Mortgage      No          Yes
15     155,272,576     United Shore          Yes         No          $48 million
                       Financial Lending
                       Services
16     140,303,395     Suntrust              Yes         No          $418 million
17     126,801,709     Eagle Home            Yes         No          Currently under
                       Mortgage                                      investigation
18     109,119,153     Regions Bank          Yes         No          $52.4 million
19     101,347,243     M&T Bank              Yes         No          $64 million
20     98,713,140      SecurityNational      Yes         No          $5 million
                       Mortgage Group
21     96,315,572      Branch Banking &      Yes         No          $83 million
                       Trust Company
22     78,666,700      Residential Home      Yes         No          $1.67 million
                       Funding Corp.
23     78,541,964      PHH Home Loans        Yes         No          $65 million
24     58,836,127      IBERIABANK            Yes         No          $11.6 million
25     57,620,292      Carrington            No          No          In litigation
                       Mortgage Services
26     55,936,448      Cherry Creek          No          No          N/A
                       Mortgage
27     4,498,807       Bank of the West      No          No          N/A
28     2,125,633       First American        Yes         No          $1.025 million
                       Mortgage
